             Case
              Case3:13-cv-05651-JD
                  3:13-cv-05651-JD Document
                                   Document73
                                            75 Filed
                                               Filed10/28/14
                                                     10/30/14 Page1
                                                              Page 1ofof44



 1 ADAM J. GUTRIDE (S.B.N. 181446)                        Henry C. Bunsow (SBN 60707)
   adam@gutridesafier.com                                 hbunsow@bdiplaw.com
 2 SETH A. SAFIER (S.B.N. 197427)                         Brian A.E. Smith (SBN 188147)
   seth@gutridesafier.com                                 bsmith@bdiplaw.com
 3 TODD KENNEDY (S.B.N. 250267)                           Alden K. Lee (SBN 257973)
   todd@gutridesafier.com                                 alee@bdiplaw.com
 4 MARIE A. MCCRARY (S.B.N. 262670)                       BUNSOW, DE MORY, SMITH & ALLISON LLP
   marie@gutridesafier.com                                351 California Street, Suite 200
 5 GUTRIDE SAFIER LLP                                     San Francisco, CA 94104
   100 Pine St., Suite 1250                               Tel: (415) 426-4747
 6 San Francisco, CA 94111                                Fax: (415) 426-4744
   Telephone: (415) 789-6390
 7 Facsimile: (415) 449-6469                              Attorneys for Defendant
                                                          KALEIDESCAPE, INC.
 8 Attorneys for Plaintiff
   INNOVATIVE AUTOMATION LLC
 9

10
                                    UNITED STATES DISTRICT COURT
11
                                 NORTHERN DISTRICT OF CALIFORNIA
12
                                        SAN FRANCISCO DIVISION
13

14
     INNOVATIVE AUTOMATION LLC                        )   Case No. 13-05651-JD
15                                                    )
                           Plaintiff,                 )
16   v.                                               )   STIPULATION OF DISMISSAL
                                                      )
17                                                    )
     KALEIDESCAPE, INC.,                              )
18                                                    )
                                                      )
19                         Defendant.                 )
                                                      )
20

21          Plaintiff Innovative Automation LLC (“Innovative Automation”) and Defendant Kaleidescape,
22 Inc. (“Kaleidescape”) (collectively, the “Parties”) file this Stipulation of Dismissal under Federal Rule

23 of Civil Procedure 41(a)(1)(A)(ii) because the Parties have resolved all claims and counterclaims

24 between them in this litigation, and jointly stipulate to the dismissal of same, and that Innovative

25 Automation’s claims brought in this litigation against Kaleidescape are hereby dismissed with

26 prejudice.

27          Each party shall bear its own attorneys’ fees and costs.
28
     [PROPOSED] ORDER OF DISMISSAL                                                        Case No. 13-05651 JD
            Case
             Case3:13-cv-05651-JD
                 3:13-cv-05651-JD Document
                                  Document73
                                           75 Filed
                                              Filed10/28/14
                                                    10/30/14 Page2
                                                             Page 2ofof44



 1         A proposed Order is attached.

 2

 3   Dated: October 28, 2014               GUTRIDE SAFIER LLP

 4
                                           /s/ Todd Kennedy
 5                                         ADAM J. GUTRIDE (S.B.N. 181446)
                                           adam@gutridesafier.com
 6                                         SETH A. SAFIER (S.B.N. 197427)
                                           seth@gutridesafier.com
 7                                         TODD KENNEDY (S.B.N. 250267)
                                           todd@gutridesafier.com
 8                                         MARIE A. MCCRARY (S.B.N. 262670)
                                           marie@gutridesafier.com
 9                                         GUTRIDE SAFIER LLP
                                           100 Pine St., Suite 1250
10                                         San Francisco, CA 94111
                                           Telephone: (415) 789-6390
11                                         Facsimile: (415) 449-6469
12                                         Attorneys for Plaintiff Innovative Automation LLC.
13
     Dated: October 28, 2014               BUNSOW, DE MORY, SMITH & ALLISON LLP
14

15                                         /s/ Brian A.E. Smith
                                           Henry C. Bunsow (SBN 60707)
16                                         hbunsow@bdiplaw.com
                                           Brian A.E. Smith (SBN 188147)
17                                         bsmith@bdiplaw.com
                                           Alden K. Lee (SBN 257973)
18                                         alee@bdiplaw.com
                                           BUNSOW, DE MORY, SMITH & ALLISON LLP
19                                         351 California Street, Suite 200
                                           San Francisco, CA 94104
20                                         Tel: (415) 426-4747
                                           Fax: (415) 426-4744
21
                                           Attorneys for Defendant
22                                         KALEIDESCAPE, INC.
23

24

25

26

27

28
     [PROPOSED] ORDER OF DISMISSAL                                               Case No. 13-05651 JD
             Case
              Case3:13-cv-05651-JD
                  3:13-cv-05651-JD Document
                                   Document73
                                            75 Filed
                                               Filed10/28/14
                                                     10/30/14 Page3
                                                              Page 3ofof44



 1 ADAM J. GUTRIDE (S.B.N. 181446)                        Henry C. Bunsow (SBN 60707)
   adam@gutridesafier.com                                 hbunsow@bdiplaw.com
 2 SETH A. SAFIER (S.B.N. 197427)                         Brian A.E. Smith (SBN 188147)
   seth@gutridesafier.com                                 bsmith@bdiplaw.com
 3 TODD KENNEDY (S.B.N. 250267)                           Alden K. Lee (SBN 257973)
   todd@gutridesafier.com                                 alee@bdiplaw.com
 4 MARIE A. MCCRARY (S.B.N. 262670)                       BUNSOW, DE MORY, SMITH & ALLISON LLP
   marie@gutridesafier.com                                351 California Street, Suite 200
 5 GUTRIDE SAFIER LLP                                     San Francisco, CA 94104
   100 Pine St., Suite 1250                               Tel: (415) 426-4747
 6 San Francisco, CA 94111                                Fax: (415) 426-4744
   Telephone: (415) 789-6390
 7 Facsimile: (415) 449-6469                              Attorneys for Defendant
                                                          KALEIDESCAPE, INC.
 8 Attorneys for Plaintiff
   INNOVATIVE AUTOMATION LLC
 9

10

11                                  UNITED STATES DISTRICT COURT

12                               NORTHERN DISTRICT OF CALIFORNIA

13                                      SAN FRANCISCO DIVISION

14

15   INNOVATIVE AUTOMATION LLC                        )   Case No. 13-05651-JD
                                                      )
16                         Plaintiff,                 )   [PROPOSED] ORDER OF DISMSSAL
     v.                                               )
17                                                    )
                                                      )
18   KALEIDESCAPE, INC.,                              )
                                                      )
19                                                    )
                           Defendant.                 )
20                                                    )
21

22          Plaintiff Innovative Automation LLC (“Innovative Automation”) and Defendant Kaleidescape,
23 Inc. (“Kaleidescape”) (collectively, the “Parties”) have announced to the Court that they have resolved

24 all claims and counterclaims between them in this litigation, and jointly stipulate to the dismissal of

25 same. Therefore, it is ORDERED that all of Innovative Automation’s claims brought in this litigation

26 against Kaleidescape are dismissed with prejudice. Each party shall bear its own attorneys’ fees and

27 costs.

28
     [PROPOSED] ORDER OF DISMISSAL                                                        Case No. 13-05651 JD
            Case
             Case3:13-cv-05651-JD
                 3:13-cv-05651-JD Document
                                  Document73
                                           75 Filed
                                              Filed10/28/14
                                                    10/30/14 Page4
                                                             Page 4ofof44



 1 IT IS ORDERED.

 2 Signed this _________
                30th     day of ___________,
                                October      2014

 3

 4
                                            HONORABLE JAMES DONATO
 5                                          UNITED STATES DISTRICT COURT
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     [PROPOSED] ORDER OF DISMSSAL                   1                   Case No. 13-05651 JD
